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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CLAL INSURANCE COMPANY         :
LTD., et al.,                  :
              Plaintiffs,      :
                               :
           v.                  :                       Civ. No. 19-530
                               :
TEVA PHARMACEUTICAL INDUSTRIES :
LTD., et al.,                  :
              Defendants.      :
                               :

                                           ORDER
        AND NOW, this 4th day of April, 2019, upon consideration of the Parties’ Stipulation to

the transfer of this matter to the District of Connecticut (Doc. No. 25), it is hereby ORDERED

that the Parties’ Stipulation (Doc. No. 25) is APPROVED and ADOPTED. See 28 U.S.C. §

1404(a); E.E.O.C. v. Univ. of Pa., 850 F.2d 969, 971 (3d Cir. 1988). The CLERK OF COURT

shall TRANSFER this case to the United States District Court of Connecticut, and shall CLOSE

this case.



                                                          AND IT IS SO ORDERED.

                                                          /s/ Paul S. Diamond
                                                          _________________________
                                                          Paul S. Diamond, J.
